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      Need a professional Armed or Unarmed                                                       OPEN
      Security Guard?

   Directory (https://directory.youmail.com) / 954 (/directory/area/954)




       (954) 507-9334                                                                  HIGH RISK
                   Scam Protection
                   YouMail users report this number may be a scam.



                                           Home Security Scam




             Coral Springs, FL US

                                           Sign Up for YouMail
            and stop unwanted calls for good (https://www.youmail.com/home/feature/stop-robocalls?s


   Reverse Phone Lookup (https://directory.youmail.com/reverse-phone)

      954-507-9334                                                                                          

      Typical Messages                                                                                             



                   Welcome to your voicemail. Welcome to your voicemail. Hey this is Mark with from Security
                promotions calling you about a free door bell camera and alarm system. It's Tuesday March 17. We
                          are in your area this week so you can call me back toll free at 844-916-0448
                             (https://directory.youmail.com/directory/phone/8449160448). Thanks.



            
                                                                                                        O




https://directory.youmail.com/directory/phone/9545079334
                                                                                             EXHIBIT A                 1/7
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               Welcome to your voicemail. Welcome to your court. Hey this is Mark with Home Security promotion.
                   It's Wednesday April 15 and I was just giving you a call to discuss the free doorbell camera and
                     alarm system waiting for activate. We're in your area this week and wanted to see if we could
                             discuss getting your home protected. Give me a call toll free at 844-916-0448
                (https://directory.youmail.com/directory/phone/8449160448) and I can let you know your options.
                I'll be in the o ce until 5:00 PM Eastern Standard Time today. Give me a call. Again that number is
                              844-916-0448 (https://directory.youmail.com/directory/phone/8449160448).



            
                                                                                                             O




                Welcome to your voicemail. Welcome to your book. Hi this is Angela with Advance Home Security. I
                            was just giving you a call to discuss the free door bell camera and alarm.



            
                                                                                                             O




                 ready(?) promotions calling you about a free door bell camera and alarm system. It's Friday March
                          20. We're in your area this week so you can call me back toll free at 844-916-0448
                               (https://directory.youmail.com/directory/phone/8449160448). Thanks.



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                                                                                                             O




      Reports                                                                                                         



       Spam
      Unknown
      Reported Caller Name: Unknown


            Hey this is Mark with Home Security Promotions calling you about a free door bell camera and alarm
            system. It's Monday April 6. We're in your area this week so you can call me back toll free at 844-916-
                                                        0448. Thanks.



         
                                                                                                             O



                                                                                                peeskee
                                                                                                4/6/20, 11:14 AM




      ✏     Add Your Report                                                                                           




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                                                                                                 EXHIBIT A                2/7
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            Your name

                                                    Will be displayed on your public post.


            Caller's name (Optional)


            Tell us about your experience with (954) 507-9334




            Report as spam                                                                    0 / 1000 characters


                                                                                                    Submit




      Commonly Reported Names for (954) 507-9334                                                              


      Number of Reports

            Unknown: 1




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                     Is this your phone number? Update your info. (/directory/callerid/update/9545079334)


      Similar Numbers

                    954-507-1233                                   954-507-1320                    954-507-2399
            (/directory/phone/9545071233)                  (/directory/phone/9545071320)   (/directory/phone/9545072399)

                    954-507-3826                                   954-507-3885                    954-507-3960
            (/directory/phone/9545073826)                  (/directory/phone/9545073885)   (/directory/phone/9545073960)

                    954-507-3962                                   954-507-3963                    954-507-3988
            (/directory/phone/9545073962)                  (/directory/phone/9545073963)   (/directory/phone/9545073988)

                    954-507-3999                                   954-507-4292                    954-507-4457
            (/directory/phone/9545073999)                  (/directory/phone/9545074292)   (/directory/phone/9545074457)

                    954-507-4494                                   954-507-4537                    954-507-4604
            (/directory/phone/9545074494)                  (/directory/phone/9545074537)   (/directory/phone/9545074604)

                    954-507-4803                                   954-507-5056                    954-507-5062
            (/directory/phone/9545074803)                  (/directory/phone/9545075056)   (/directory/phone/9545075062)

                    954-507-6305                                   954-507-6318                    954-507-6468
            (/directory/phone/9545076305)                  (/directory/phone/9545076318)   (/directory/phone/9545076468)


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                                                                                                    EXHIBIT A              4/7
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                    954-507-6528                                     954-507-6923                       954-507-6931
            (/directory/phone/9545076528)                   (/directory/phone/9545076923)       (/directory/phone/9545076931)

                    954-507-7279                                     954-507-8035                       954-507-8809
            (/directory/phone/9545077279)                   (/directory/phone/9545078035)       (/directory/phone/9545078809)

                    954-507-9117                                     954-507-9209                       954-507-9263
            (/directory/phone/9545079117)                   (/directory/phone/9545079209)       (/directory/phone/9545079263)


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   Compatibility
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   (https://www.youmail.com/home/compatibility)
                                                                     Developers
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                              (https://go.onelink.me/app/1f81e4d4)


                              (https://go.onelink.me/app/cb7ced0b)




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